        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 1 of 14




                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK,

                       Plaintiff,

        v.                                   No. 20 Civ. 1127 (JMF)

 CHAD F. WOLF, in his official capacity as
 Acting Secretary of Homeland Security, et
 al.,

                       Defendants.

 R. L’HEUREUX LEWIS-MCCOY, et al., on
 behalf of themselves and all similarly
 situated individuals,

                       Plaintiffs,           No. 20 Civ. 1142 (JMF)
        v.

 CHAD WOLF, in his official capacity as
 Acting Secretary of Homeland Security, et
 al.,

                       Defendants.

                     MEMORANDUM OF LAW IN SUPPORT
             OF PLAINTIFFS’ JOINT MOTION FOR INJUNCTIVE RELIEF

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Dated: November 13, 2020
            Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 2 of 14




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

FACTUAL BACKGROUND ......................................................................................................... 1

ARGUMENT .................................................................................................................................. 4

          I.         This Court should issue an injunction to ensure that the Ban is not reinstated. ..... 4

          II.        To craft the proper injunction, this Court should hold that the Ban violated the
                     APA’s notice-and-comment requirements. ............................................................. 7

                     A.         The Court should rule on Plaintiffs’ notice-and-comment claim. .............. 7

                     B.         The Ban violates the APA’s notice-and-comment requirements ................ 9

          III.       Scope of Injunction. .............................................................................................. 10

CONCLUSION ............................................................................................................................. 10




                                                                     i
            Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 3 of 14




                                                         Table of Authorities

Cases ..................................................................................................................................... Page(s)

Abbott v. Perez, 138 S. Ct. 2305 (2018) ......................................................................................... 5

Athlone Indus., Inc. v. Consumer Prod. Safety Comm’n, 707 F.2d 1485 (D.C. Cir. 1983) ............ 9

Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891 (2020) ................ 8

Gonnella v. U.S. Sec. & Exch. Comm’n, 954 F.3d 536 (2d Cir. 2020)........................................... 9

Int’l Franchise Ass’n, Inc. v. City of Seattle, 803 F.3d 389 (9th Cir. 2015) ................................... 5

League of Women Voters of U.S. v. Newby, 838 F.3d 1 (D.C. Cir. 2016) ...................................... 6

Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139 (2010) .................................................... 5, 6

New York v. Trump, No. 20 Civ. 5770 (RCW) (PWH) (JMF), 2020 WL 5422959 (S.D.N.Y. Sept.
      10, 2020) ............................................................................................................................. 6

New York v. U.S. Dep’t of Commerce, 351 F. Supp. 3d 502 (S.D.N.Y. 2019) ................... 4, 5, 6, 7

New York v. Wolf, No. 20 Civ. 1127 (JMF), 2020 WL 6047817 (S.D.N.Y. Oct. 13, 2020) .......... 2

Planned Parenthood of New York City, Inc. v. U.S. Dep’t of Health & Human Servs., 337 F. Supp.
      3d 308 (S.D.N.Y. 2018) ...................................................................................................... 5

Pursuing America’s Greatness v. FEC, 831 F.3d 500 (D.C. Cir. 2016) ........................................ 5

Sears, Roebuck & Co. v. Charles W. Sears Real Estate, Inc., 865 F.2d 22 (2d Cir. 1988) ............ 8

Sweet v. Sheahan, 235 F.3d 80 (2d Cir. 2000) ................................................................................ 9

United States v. Roman, 770 F. Supp. 229 (S.D.N.Y. 1991) .......................................................... 8

White v. Shalala, 7 F.3d 296 (2d Cir. 1993) ................................................................................... 9

Wong Yang Sung v. McGrath, 339 U.S. 33, modified, 339 U.S. 908 (1950) .................................. 7

Statutes, Rules, and Regulations

N.Y. Veh. & Traf. Law § 201(12) .................................................................................................. 4

Part YYY, New York Senate Bill No. 7508 ................................................................................... 4

5 U.S.C. § 706(2) .................................................................................................................... 4, 7, 9




                                                                        ii
        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 4 of 14




                                        INTRODUCTION

       For months, federal agencies misled Plaintiffs and this Court in order to defend and

enforce a ban against all New York residents (“the Ban”) from applying to federal Trusted

Traveler Programs (“TTPs”). Despite knowing that New York was not the only jurisdiction that

limited federal access to driver data, Defendants insisted that New York’s law limiting access

properly provided “the rationale” for a ban against New York alone. Even after finally admitting

that rationale to be false, Defendants did not stop exploring how to punish New York. To this

day, Defendants continue to evaluate whether and how to reinstate requirements that TTP

applicants provide them with driver data. As such, beyond vacatur, an injunction is a necessary

remedy to ensure that federal agencies will not violate the law again.

       First, an injunction is a proper remedy where, as here, it is necessary to effectuate the

Court’s vacatur of the Ban. Second, to set the scope of the injunction, this Court should hold that

the Ban failed to go through to notice-and-comment rulemaking as required for agency action

that amounts to a legislative act. Reaching the merits of this question will give full effect to the

APA and avoid additional litigation in the future. Accordingly, and finally, the Court should

enjoin Defendants from reinstating the Ban or altering application requirements for TTPs to

require DMV access or driver information from applicants without going through the requisite

notice-and-comment rulemaking process.

                                  FACTUAL BACKGROUND

       On February 5, 2020, Defendant Chad Wolf, purportedly the Acting Secretary of

Homeland Security,1 sent New York a three-page letter banning its residents from enrolling or


1
  As the Court previously noted, several courts and the U.S. Government Accountability Office
have concluded that Defendant Wolf was at the time (and is now) likely unlawfully exercising
the authority of Acting Secretary of Homeland Security. New York v. Wolf, No. 20 Civ. 1127



                                                  1
          Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 5 of 14




re-enrolling in TTPs on account of the newly effective Green Light Law that blocked federal

access to residents’ Department of Motor Vehicle (“DMV”) records housed in the NLETS2

database. See DHSGLL001–003. Within days, Plaintiffs filed suit challenging the Ban under

the Administrative Procedure Act (“APA”) and the Constitution. See New York Compl., ECF

No. 1;3 Lewis-McCoy Compl., No. 20 Civ. 1142, ECF No. 1.

         For the next several months, Defendants filed brief after brief arguing that they had

properly enacted the Ban because “no other state” failed to grant access to driver history

documented in DMV records. See, e.g., Defs.’ Mem. Supp. Mot. to Dismiss 14, ECF No. 30.

Defendants supported those briefs with multiple declarations from agency officials, echoing the

same rationale. See, e.g., ECF Nos. 68-1, 68-2, 68-3. At the same time, however, the

administrative record showed that, as early as January 14, 2020, Defendants knew that several

other jurisdictions either did not participate in NLETS or did not otherwise share DMV data with

Defendants. See DHSGLL018–019, -032, -072–074.

         On July 23, 2020, Defendants finally admitted they were wrong. See ECF No. 89. A day




(JMF), 2020 WL 6047817, at *1 n.1 (S.D.N.Y. Oct. 13, 2020) (collecting cases). Plaintiffs did
not challenge the Ban on that ground in this litigation and refer to Defendant Wolf as “Acting
Secretary Wolf” herein, without conceding that Defendant Wolf has exercised any lawful
authority as Acting Secretary. See, e.g., Pls.’ Mot. for Partial Summ. J., New York v. U.S. Dep’t
of Homeland Sec., No. 19 Civ. 7777 (GBD), ECF No. 241 (S.D.N.Y. filed Oct. 27, 2020)
(arguing that DHS public charge inadmissibility rule is invalid because Wolf’s predecessor was
not lawfully serving as Acting Secretary, and Wolf lacked authority to ratify the rule); Pls.’ Mot.
for Partial Summ. J., New York v. Trump, No. 17 Civ. 5228 (NGG), ECF No. 275 (E.D.N.Y.
filed Aug. 28, 2020) (arguing that interim changes to the Deferred Action for Childhood Arrivals
program implemented in July 2020 are invalid because Wolf has never lawfully served in the
role of Acting Secretary of Homeland Security).
2
 NLETS is a private, non-profit corporation that maintains a third-party database where
numerous types of data are shared between participating state, federal, and international
agencies. See DHSGLL016, -018, -029, -031.
3
    Unless otherwise noted, docket numbers refer to the docket in New York v. Wolf, 20 Civ. 1127.


                                                  2
        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 6 of 14




before their summary judgment reply brief was due, Defendants abruptly rescinded the Ban and

retracted each of their outstanding motions, briefs, and declarations. See id. By letter to this

Court, Defendants explained that—just as the administrative record had made clear for months—

“several states, the District of Columbia, and a territory . . . do not currently provide access to

driving history information, including driving-related criminal histories.” Id. at 2. Further, two

other territories did not participate in NLETS’ DMV data-sharing at all. Id.

       On July 29, 2020, this Court issued an order regarding Defendants’ “deeply troubling

revelations.” ECF No. 92, at 4. “For the sake of ensuring an accurate record and to help the

Court in deciding how to proceed down the line,” the Court ordered Defendants to file a report

detailing their “inaccurate” and “misleading” statements. Id. at 4–5. Defendants ultimately filed

a redacted report on September 8, 2020, prompting further briefing. See ECF Nos. 111–23.

       As litigation over Defendants’ false statements was ongoing, Defendants publicly and

repeatedly stated that they were continuing to explore how to reinstate the Ban. On July 24,

2020, just one day after rescinding the Ban, Acting Secretary Wolf stated that his agency would

“continue to work with our Department of Justice colleagues to see what we can do, perhaps

through the legal system, to address” its objections to New York’s Green Light Law.4 On

August 31, 2020, Defendants filed a letter in these actions apprising the Court that Customs and

Border Protection (“CBP”) is also “continuing to evaluate the means by which it can obtain

DMV information.” ECF No. 110. And, on September 30, 2020, CBP Deputy Commissioner

Robert Perez testified before Congress that the agency is working on obtaining DMV




4
  Adam Shaw, DHS Lifts New York Ban on Trusted Traveler Program, Fox News (July 23,
2020), https://www.foxnews.com/politics/dhs-new-york-trusted-traveler-programs-green-light-
law (second video).


                                                  3
        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 7 of 14




information and asserted that New York remains “unique”5—even though New York amended

its law to permit sharing DMV data with Defendants “as necessary” for TTP vetting. See Part

YYY, New York Senate Bill No. 7508; N.Y. Veh. & Traf. Law § 201(12) (McKinney 2020).

       On October 13, 2020, this Court granted Plaintiffs’ now-unopposed motion for summary

judgment. The Court reasoned that the Ban was arbitrary and capricious under the APA,

declining to reach Plaintiffs’ other claims while noting that “Defendants undermined the ‘core

constitutional and democratic values’ underlying the APA.” ECF No. 124, at 13. The Court also

noted that “there are circumstances in which additional remedies are appropriate in APA cases,”

directing the parties to submit a joint letter proposing whether and how to address the question of

remedies. Id. The parties proposed additional briefing, ECF No. 125, and Defendants agreed not

to reinstate the Ban pending adjudication of the remedies question, ECF No. 127.

                                          ARGUMENT

I.     This Court should issue an injunction to ensure that the Ban is not reinstated.

       A permanent injunction against Defendants is warranted here because injunctive relief is

both equitable and necessary to effectuate the Court’s vacatur of the Ban. Although vacatur and

remand are the typical remedies for an APA violation, courts are not limited to those remedies

when circumstances demand more. See 5 U.S.C. § 706(2); New York v. U.S. Dep’t of

Commerce, 351 F. Supp. 3d 502, 671–72 (S.D.N.Y. 2019), aff’d in relevant part, 139 S. Ct. 2551

(2019). To the contrary, “courts often enjoin future action by government officials where the

principles of equity support such relief.” Dep’t of Commerce, 351 F. Supp. 3d at 673; see also




5
 See Examining DHS’ Management of Trusted Traveler Programs, video at 50:35 and 52:30,
House Comm. on Homeland Sec. (Sept. 30, 2020), https://homeland.house.gov/examining-dhs-
management-of-trusted-traveler-programs.


                                                 4
        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 8 of 14




Planned Parenthood of New York City, Inc. v. U.S. Dep’t of Health & Human Servs., 337 F.

Supp. 3d 308, 342 (S.D.N.Y. 2018) (granting permanent injunction in APA litigation).

       Whether permanent injunctive relief should be granted “turns on the traditional four

factors, namely whether the plaintiff proves ‘(1) that it [will suffer] an irreparable injury; (2) that

remedies available at law, such as monetary damages, are inadequate to compensate for that

injury; (3) that, considering the balance of hardships between the plaintiff and defendant, a

remedy in equity is warranted; and (4) that the public interest would not be disserved by a

permanent injunction.’” Dep’t of Commerce, 351 F. Supp. 3d at 673 (quoting Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 156–57 (2010)). But where the government is a party, the

last two factors merge, because “the government’s interest is the public interest.” Pursuing

America’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016).

       Here, each of these factors weighs in favor of injunctive relief. In a number of obvious

ways, the Ban causes irreparable harm for which no remedy at law exists. As Plaintiffs have

argued, the Ban singles out New Yorkers for disfavored treatment on the basis of the New York

legislature’s enactment of legislation in an area of core state sovereignty, see Pls.’ Mem. Opp.

Defs.’ Mot. Dismiss 5–6, ECF No. 46 (describing dignitary harms to Plaintiffs based on

interference with and infringement on state sovereignty); Abbott v. Perez, 138 S. Ct. 2305, 2324

n.17 (2018) (“[T]he inability to enforce its duly enacted plans clearly inflicts irreparable harm on

the State.”). The Ban also “places New York at a competitive disadvantage for recruiting and

retaining business as compared to all other states . . . .” New York Compl. ¶ 99; see Planned

Parenthood, 337 F. Supp. 3d at 342–43 (“A rule putting plaintiffs at a competitive disadvantage

constitutes irreparable harm.”) (quoting Int’l Franchise Ass’n, Inc. v. City of Seattle, 803 F.3d

389, 411 (9th Cir. 2015)). Even Defendants seemingly concede they cannot remedy all the harm




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        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 9 of 14




caused by the Ban. See Defs.’ Ltr. 1 & n.2, ECF No. 121 (describing applications that cannot be

restored to TTP portal). And the balance of hardships weighs in Plaintiffs’ favor, because

“[t]here is generally no public interest in the perpetuation of unlawful agency action. To the

contrary, there is a substantial public interest in having governmental agencies abide by the

federal laws that govern their existence and operations.” New York v. Trump, No. 20 Civ. 5770

(RCW) (PWH) (JMF), 2020 WL 5422959, at *33 (S.D.N.Y. Sept. 10, 2020) (three-judge court)

(quoting League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)).

       Beyond the equities, the Court must also determine permanent injunctive relief will be

useful. See Dep’t of Commerce, 351 F. Supp. 3d at 676 (“[A] district court vacating agency

action under the APA should not grant an injunction if doing so would ‘not have any meaningful

practical effect independent of its vacatur.’”) (quoting Monsanto, 561 U.S. at 165)). Here, the

typical APA remedy of vacatur will not alone redress Plaintiffs’ injuries or assure the efficacy of

the Court’s order invalidating the Ban. The Court’s opinion granting Plaintiffs’ motion for

summary judgment identified two defects in the TTP decision—the agency entirely failed to

consider important aspects of the problem, and made a decision counter to the evidence before

the agency—based on the fact that several states and territories do not provide driving-related

criminal history or do not participate in NLETS. See ECF No. 124, at 11–13. But it is not clear

anything currently prevents Defendants from re-instituting an equally defective ban on New

Yorkers’ enrollment in the Trusted Traveler programs based on substantially similar reasoning or

a substantially similar record. To the contrary, there is every reason to think Defendants will do

so absent an injunction: Defendants continue—even now—to resist the obvious conclusion that

DMV data is not necessary for TTP vetting, see ECF No. 113, at 4, and CBP still “is continuing

to evaluate the means by which it can obtain DMV information in order to vet all Trusted




                                                 6
       Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 10 of 14




Traveler Program applicants,” ECF No. 110. Because only an injunction will prevent Acting

Secretary Wolf “from arriving at the same decision without curing the problems identified in [the

Court’s summary judgment opinion],” injunctive relief is “necessary to make the Court’s vacatur

effective,” and thus a warranted response. Dep’t of Commerce, 351 F. Supp. 3d at 676.

II.    To craft the proper injunction, this Court should hold that the Ban violated the
       APA’s notice-and-comment requirements.

       The Court granted Plaintiffs’ unopposed cross-motion for summary judgment “on the

ground that the TTP Decision was arbitrary and capricious.” ECF No. 124, at 11. Plaintiffs had

separately alleged claims for relief and sought summary judgment pursuant to 5 U.S.C.

§ 706(2)(D), on the ground that the Ban was implemented without observance of procedure

required by law because the agency did not provide any notice or opportunity for public

comment. See Pls.’ Mem. Supp. Summ. J. 9–15, ECF No. 79 (“Pls.’ Mem.”).

       Notwithstanding that the Court has already invalidated the Ban on arbitrary-and-

capricious grounds, the Court should also reach the merits of Plaintiffs’ procedural APA claim,

as doing so is necessary to determine the proper scope of injunctive relief. And on reaching the

merits of that claim, the Court should conclude that Defendants may not alter application

requirements for TTPs without adhering to the APA’s notice-and-comment requirements.

       A. The Court should rule on Plaintiffs’ notice-and-comment claim.

       First, one of the APA’s central purposes is “to introduce greater uniformity of procedure

and standardization of administrative practice among the diverse agencies whose customs had

departed widely from each other.” Wong Yang Sung v. McGrath, 339 U.S. 33, 41, modified, 339

U.S. 908 (1950). To that end, the Supreme Court has warned that “it would be a disservice to

our form of government and to the administrative process itself if the courts should fail, so far as

the terms of the [APA] warrant, to give effect to its remedial purposes.” Id.



                                                 7
        Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 11 of 14




        Here, giving effect to the APA requires ensuring that Defendants—like all other federal

agencies and officials governed by the APA—follow the “uniformity of procedure” that the law

sets out. Id. Without a Court ruling that the Ban violated the APA’s notice-and-comment

requirements, Defendants will be free to again deviate from the proper procedure and perform

the exact evil that the APA was designed to prevent. Id. (discussing the “greater uniformity of

procedure” as one of “several administrative evils sought to be cured or minimized” by the

APA); Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1909

(2020) (“Procedural requirements . . . serve[] important values of administrative law,” often by

“ensuring that parties and the public can respond fully and in a timely manner to an agency’s

exercise of authority.”). This Court should not permit Defendants to skirt their legal obligations.

        Second, deciding Plaintiffs’ notice-and-comment claim now will avoid further litigation

in the future and assure the effectiveness of the Court’s order invalidating the Ban. As Plaintiffs

have explained above, see supra, at 3–4, Defendants have emphatically and repeatedly reiterated

not only their intent to impose new obligations related to DMV records, but also their position

that New York is somehow “unique”—which has always been demonstrably false, and is only

more starkly so following Defendants’ “deeply troubling revelations.” ECF No. 92, at 4. Given

Defendants’ stated intent to re-impose the same or similar requirements in the future, a ruling

from the Court on the APA’s procedural requirements in this context will eliminate the need for

likely duplicative litigation in the future.

        When judicial economy favors reaching a question on the merits, courts have often done

so. Sears, Roebuck & Co. v. Charles W. Sears Real Estate, Inc., 865 F.2d 22, 23 (2d Cir. 1988)

(“In the interest of judicial economy, however, we reach the merits of this issue.”); United States

v. Roman, 770 F. Supp. 229, 231 (S.D.N.Y. 1991) (deciding to “reach[] the merits . . . to avoid




                                                 8
       Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 12 of 14




further litigation”); see also Athlone Indus., Inc. v. Consumer Prod. Safety Comm’n, 707 F.2d

1485, 1488 (D.C. Cir. 1983) (“Because the interests of judicial economy will be served by a

decision on the merits at this time, we also reach the dispositive substantive issue[.]”). Doing so

here would ensure that the parties and future courts will not needlessly re-litigate questions

presented here.

       B. The Ban violates the APA’s notice-and-comment requirements.

       On the merits, as Plaintiffs explained in their unopposed6 motion for summary judgment,

Pls.’ Mem. 9–14, the APA’s notice-and-comment requirements plainly apply to the Ban. By

creating new requirements that are not found in CBP’s governing statute, its published rules, or

the Intelligence Reform and Terrorism Prevention Act of 2004 that delegated rulemaking

authority to CBP (via DHS), the Ban “amounts to a legislative act” that may only be enacted

following notice to the public and an opportunity to comment. White v. Shalala, 7 F.3d 296, 303

(2d Cir. 1993) (“The central question is essentially whether an agency is exercising its

rule-making power to clarify an existing statute or regulation, or to create new law, rights, or

duties in what amounts to a legislative act.”); see also Pls.’ Mem. 10–14.

       As such, under the four factors identified in Sweet v. Sheahan, 235 F.3d 80 (2d Cir.

2000), the Ban is the exact type of legislative rule that must go through notice-and-comment

rulemaking. See also Gonnella v. U.S. Sec. & Exch. Comm’n, 954 F.3d 536, 547 (2d Cir. 2020)

(examining Sheahan factors). Specifically, the first and fourth factors establish that the Ban is a

legislative rule subject to notice-and-comment requirements. It is both (a) an addition to pre-



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  Defendants withdrew their motion to dismiss, motion for summary judgment, and all materials
submitted in support of those motions on July 23, 2020, see ECF No. 89, and did not oppose
Plaintiffs’ cross-motion for summary judgment, see ECF No. 92, at 4. Plaintiffs’ argument that
the Ban is invalid under Section 706(2)(D) for failure to comply with the APA’s notice-and-
comment requirements is therefore entirely unopposed.

                                                 9
       Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 13 of 14




existing law without which “there would not be an adequate legislative basis,” id. at 547 (internal

quotation marks omitted), and (b) effectively an amendment to a prior legislative rule, i.e. to

CBP’s pre-existing requirements for TTP applicants, id.; see also Pls.’ Mem. 10–14.

        Finally, the APA’s “good cause” exception to notice-and-comment rulemaking is

inapplicable where, as here, Defendants concede that they did not make a contemporaneous

finding of good cause, incorporate a statement of good cause, or identify any emergency

supplying good cause. See Pls.’ Mem. 14–15; 5 U.S.C. § 553(b)(B). By failing to undergo

notice-and-comment rulemaking or establish “good cause,” the Ban therefore violates the APA.

III.   Scope of Injunction

       Plaintiffs submit that the injunction should prohibit Defendants from reinstating any ban

on TTP enrollment based on a state or individual’s provision of DMV records, unless the agency

cures the defects identified by the Court in its summary judgment opinion (i.e., the agency

considers all important aspects of the problem and makes a decision consistent with the evidence

before the agency). See ECF No. 124, at 11–12. Plaintiffs also respectfully submit that the

Court should reach the merits of Plaintiffs’ notice-and-comment claim and further enjoin

Defendants from amending the TTP eligibility requirements without abiding by the APA’s

notice-and-comment requirements.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court permanently

enjoin Defendants from (1) reinstating any ban on TTP enrollment based on a state or

individual’s provision of DMV records without first curing those defects identified in this

Court’s summary judgment opinion, and (2) amending the TTP regulations without following the

APA’s notice-and-comment requirements.




                                                10
      Case 1:20-cv-01127-JMF Document 129 Filed 11/13/20 Page 14 of 14




Dated: November 13, 2020
       New York, New York
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                                     11
